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                               UNITED STATES DISTRICT COURT                            United States District Court
                                SOUTHERN DISTRICT OF TEXAS                               Southern District of Texas
                                    MCALLEN DIVISION                                        ENTERED
                                                                                        September 22, 2021
Letricia L. Rivas                                   §                                    Nathan Ochsner, Clerk
vs.                                                 §             CIVIL ACTION NO. 7:21−cv−00354
Gold Star Finance, Inc.                             §

                                ORDER FOR CONFERENCE
                                          AND
                           DISCLOSURE OF INTERESTED PARTIES

1. Counsel shall appear by video via Zoom for an initial pretrial and scheduling conference before

                                  HONORABLE RANDY CRANE
                             on Wednesday, December 8,2021 at 09:00 AM
                                     at U.S. DISTRICT COURT
                                     Bentsen Tower, 9th FLOOR
                                      1701 West Bus. Hwy. 83
                                        McAllen, Texas 78501

2. Counsel shall file at least 10 days before the conference a Disclosure of Interested Parties listing
   all persons, associations, firms, partnerships, corporations, affiliates, parent corporations, or other
   entities that are financially interested in the outcome of this litigation. The form of this
   Disclosure may be downloaded in Word or WordPerfect format at
   www.txs.uscourts.gov/content/JudgeRandyCrane. If a group can be specified by general
   description, individual listing is not necessary. Underline the name of each corporation whose
   securities are publicly traded. If new parties are added or if additional persons or entities that are
   financially interested in the outcome of the litigation are identified at any time during the
   pendency of this litigation, then counsel shall promptly file an amended certificate with the clerk.

3. The parties shall confer as required by Fed. R. Civ. P. 26(f) and, thereafter, shall prepare and file
   at least 10 days before the conference a Joint Discovery Plan containing the information required
   on the attached form. (May be downloaded in Word or WordPerfect format at
   www.txs.uscourts.gov/content/JudgeRandyCrane.)

4. Counsel who files or removes an action is responsible for providing all other parties with a copy
   of this order and must also serve this order with the summons and complaint or with the notice
   of removal.

5. The court will enter a scheduling order and may rule on any pending motions at the conference.

6. Fed. R. Civ. P. 4(m) requires defendant(s) to be served within 90 days after the filing of the
   complaint. The failure of plaintiff(s) to file proof of service within 90 days after the filing of the
   complaint may result in dismissal of this action by the court sua sponte.

7. Attendance by an attorney who has authority to bind the party is required at the conference.

8. A person litigating pro se is bound by the requirements imposed upon counsel in this Order.

9. Failure to comply with this order may result in sanctions, including dismissal of the action and
   assessment of fees and costs.
                                                                        By Order of the Court
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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

                               , Plaintiff(s)         §
                                                      §        CIVIL ACTION NO.
                               , Defendant(s)         §

                          DISCLOSURE OF INTERESTED PARTIES
      NOW COMES [insert name of party making this disclosure] and hereby certifies that the
following persons or entities have a financial interest in the outcome of this litigation:

     1. [name of person or entity]                                          Please note: this designation must
             [city and state of residence or principal place of business]   include all persons and entities
                                                                            (designating whether an entity is an
                                                                            association of persons, firm,
     2. [name of person or entity]                                          partnership, corporation, affiliate,
                                                                            parent corporation) that are
             [city and state of residence or principal place of business]   financially interested in the
                                                                            outcome of this litigation. The
                                                                            listing should include the individual
     3. [name of person or entity]                                          names of each partner in a
             [city and state of residence or principal place of business]   partnership. If a group can be
                                                                            specified by a general description,
                                                                            individual listing is not necessary.
                                                                            Underline the name of each
                                                                            corporation whose securities are
                                                                            publicly traded. If new parties are
                                                                            added or if additional persons or
                                                Respectfully submitted,     entities that are financially
                                                                            interested in the outcome of the
                                                                            litigation are identified at any time
                                                                            during the pendency of this
                                                [Counsel for party]         litigation, then each counsel shall
                                                                            promptly file an amended
                                                                            disclosure report with the clerk of
                                                                            court.




                                       Certificate of Service
                                 [insert certification of service here]
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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

                                , Plaintiff(s)       §
                                                     §      CIVIL ACTION NO.
                                , Defendant(s)       §

                      JOINT DISCOVERY/CASE MANAGEMENT PLAN
                                  UNDER FRCP 26(f)
              [Please restate the instruction in bold before furnishing the information.]
1. State when and in what manner the parties conferred as required by Rule 26(f), and identify the
   counsel and/or parties who participated in the conference.

2. List by case number and court any cases related to this one that are pending in any state or federal
   court and describe how they are related.

3. Briefly describe what this case is about.

4. Specify the allegation of federal jurisdiction.

5. Name the parties who disagree with the jurisdictional allegations and state their reasons.

6. List anticipated additional parties that should be included, when they can be added, and which
   parties desire their inclusion.

7. List anticipated interventions.

8. Describe any class−action issues.

9. State whether each party represents that it has made the initial disclosures required by FRCP
   26(a). If not, describe the arrangements that have been made to complete such disclosures.

10. Describe the discovery plan agreed by the parties by stating:

   A. What changes should be made in the timing, form or requirement for disclosures under Rule
      26(a).
   B. When and to whom the plaintiff anticipates it may send interrogatories.
   C. When and to whom the defendant anticipates it may send interrogatories.
   D. Of Whom and by when the plaintiff anticipates taking oral depositions.
   E. Of Whom and by when the defendant anticipates taking oral depositions.
   F. When the plaintiff (or the party with the burden of proof on an issue) will be able to designate
      experts and provide the reports required by Rule 26(a)(2)(B), and when the opposing party
      will be able to designate responsive experts and provide their reports.
   G. List expert depositions the plaintiff (or the party with the burden of proof on an issue)
      anticipates taking and their anticipated completion date. See Rule 26(a)(2)(B) (expert report).
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   H. List expert depositions the opposing party anticipates taking and their anticipated completion
      date. See Rule26(a)(2)(B) (export report).

11. If the parties are not agreed on a part of the discovery plan, describe the separate views and
    proposals of each party.

12. Specify the discovery beyond initial disclosures that has been undertaken to date.

13. State the date the planned discovery can reasonably be completed.

14. Describe the possibilities for a prompt settlement or resolution of the case that were discussed in
    your Rule 26(f) meeting.

15. Describe what each party has done or agreed to do to bring about a prompt resolution.

16. From the attorneys' discussion with the client, state the alternative dispute resolution techniques
    that are reasonably suitable, and state when such a technique may be effectively used in this case.

17. Magistrate judges may now hear jury and non−jury trials. Indicate the parties' joint position on a
    trial before a magistrate judge.

18. State whether a jury demand has been made and if it was made on time.

19. Specify the number of hours it will take to present the evidence in this case.

20. List pending motions that could be ruled on at the initial pretrial and scheduling conference.

21. List other motions pending.

22. Indicate other matters peculiar to this case, including discovery, that deserve the special attention
    of the court at the conference.

23. List the names, bar numbers, addresses, and telephone numbers of all counsel.




Counsel for Plaintiff(s)                                       Date



Counsel for Defendant(s)                                       Date
